                                Case 6:23-bk-01273-GER                   Doc 1        Filed 04/06/23           Page 1 of 32


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                King Interpreting Services LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8891 Andreas Avenue
                                  Orlando, FL 32832
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.kinginterpreting.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 6:23-bk-01273-GER                        Doc 1         Filed 04/06/23              Page 2 of 32
Debtor    King Interpreting Services LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7489

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                Case 6:23-bk-01273-GER                             Doc 1       Filed 04/06/23             Page 3 of 32
Debtor    King Interpreting Services LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                         Case 6:23-bk-01273-GER                 Doc 1      Filed 04/06/23              Page 4 of 32
Debtor   King Interpreting Services LLC                                              Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                              Case 6:23-bk-01273-GER                      Doc 1         Filed 04/06/23             Page 5 of 32
Debtor    King Interpreting Services LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 6, 2023
                                                  MM / DD / YYYY


                             X   /s/ Janet King                                                           Janet King
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Jeffrey S. Ainsworth                                                  Date April 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jeffrey S. Ainsworth 060769
                                 Printed name

                                 BransonLaw, PLLC
                                 Firm name

                                 1501 E. Concord Street
                                 Orlando, FL 32803
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     407 894 6834                  Email address      jeff@bransonlaw.com

                                 060769 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                           Case 6:23-bk-01273-GER                       Doc 1       Filed 04/06/23           Page 6 of 32




Fill in this information to identify the case:

Debtor name         King Interpreting Services LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 6, 2023                   X /s/ Janet King
                                                           Signature of individual signing on behalf of debtor

                                                            Janet King
                                                            Printed name

                                                            Managing Member
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                              Case 6:23-bk-01273-GER                       Doc 1         Filed 04/06/23                Page 7 of 32


 Fill in this information to identify the case:
 Debtor name King Interpreting Services LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Everest Business                                    Merchant cash             Unliquidated                                                                      $44,000.00
 Funding                                             advance                   Disputed
 5 West 37th Avenue
 Ste 1100
 New York, NY 10018
 Fox Business                                        Merchant cash             Unliquidated                                                                      $27,000.00
 Funding                                             advanced                  Disputed
 1920 E. Hallandale
 Beach Blv
 Suite 503
 Hallandale, FL 33009
 Image Capital                                       Merchant cash             Unliquidated                                                                    $120,000.00
 Parners                                             advanced                  Disputed
 53 N Park Avenue,
 Ste 302
 Rockville Centre, NY
 11570
 IND Funding Group                                   Merchant cash             Unliquidated                                                                      $26,000.00
 2135 NW 115th                                       advance                   Disputed
 Miami, FL 33172
 JP Morgan Chase                                     credit card                                                                                                 $18,992.00
 Cardmember
 Service
 PO Box 1423
 Charlotte, NC
 28201-1423
 KnightsBridge                                       Merchant cash             Unliquidated                                                                      $37,000.00
 Funding                                             advance                   Disputed
 40 Wall Street, Ste
 2903
 New York, NY 10005
 Maison Capital                                      Merchant cash             Unliquidated                                                                      $44,000.00
 560 Sylvan Ave, Ste                                 advance                   Disputed
 3020
 Englewood Cliffs,
 NJ 07632



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                              Case 6:23-bk-01273-GER                       Doc 1         Filed 04/06/23                Page 8 of 32



 Debtor    King Interpreting Services LLC                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 PayPal                                              Loan                      Unliquidated                                                                      $64,000.00
 2221 North First                                                              Disputed
 Street
 San Jose, CA 95131
 WebBank                                             Merchant cash             Unliquidated                                                                        $9,600.00
 PO Box 842978                                       advance                   Disputed
 Dallas, TX 75284




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                      Case 6:23-bk-01273-GER                                            Doc 1              Filed 04/06/23                         Page 9 of 32

 Fill in this information to identify the case:

 Debtor name            King Interpreting Services LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           206,791.87

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           206,791.87


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           537,734.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           390,592.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             928,326.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                           Case 6:23-bk-01273-GER                    Doc 1        Filed 04/06/23              Page 10 of 32

Fill in this information to identify the case:

Debtor name         King Interpreting Services LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Fairwinds                                         Checking Account                      3962                                     $8,574.84




          3.2.     Chase                                             Checking Account                      1660                                     $6,195.73



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $14,770.57
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                            Case 6:23-bk-01273-GER                    Doc 1          Filed 04/06/23            Page 11 of 32

Debtor       King Interpreting Services LLC                                                  Case number (If known)
             Name


          11a. 90 days old or less:                   226,298.35        -                             35,277.05 = ....                  $191,021.30
                                       face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                      117,345.13        -                           117,345.13 =....                           $0.00
                                       face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                          $191,021.30
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                               Net book value of         Valuation method used    Current value of
                                                                            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          3 computers                                                                      $0.00                                          $1,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                $1,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 2
                         Case 6:23-bk-01273-GER                      Doc 1        Filed 04/06/23              Page 12 of 32

Debtor        King Interpreting Services LLC                                               Case number (If known)
              Name


             Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                          page 3
                                Case 6:23-bk-01273-GER                                   Doc 1            Filed 04/06/23               Page 13 of 32

Debtor          King Interpreting Services LLC                                                                      Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $14,770.57

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $191,021.30

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $206,791.87           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $206,791.87




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
                                Case 6:23-bk-01273-GER                          Doc 1         Filed 04/06/23        Page 14 of 32

Fill in this information to identify the case:

Debtor name          King Interpreting Services LLC

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       Small Business
2.1                                                                                                                      $537,734.00                  $6,195.73
       Adminitration                                Describe debtor's property that is subject to a lien
       Creditor's Name                              Chase - Checking Account - Acct# 1660
       PO Box 3918
       Portland, OR 97208-3918
       Creditor's mailing address                   Describe the lien
                                                    UCC-1
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       2020                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7204
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $537,734.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
                             Case 6:23-bk-01273-GER                          Doc 1           Filed 04/06/23                 Page 15 of 32

Fill in this information to identify the case:

Debtor name        King Interpreting Services LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $44,000.00
          Everest Business Funding                                             Contingent
          5 West 37th Avenue                                                   Unliquidated
          Ste 1100
          New York, NY 10018                                                   Disputed

          Date(s) debt was incurred                                         Basis for the claim:    Merchant cash advance
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $27,000.00
          Fox Business Funding                                                 Contingent
          1920 E. Hallandale Beach Blv                                         Unliquidated
          Suite 503
          Hallandale, FL 33009                                                 Disputed

          Date(s) debt was incurred                                         Basis for the claim:    Merchant cash advanced
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $120,000.00
          Image Capital Parners                                                Contingent
          53 N Park Avenue, Ste 302                                            Unliquidated
          Rockville Centre, NY 11570
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Merchant cash advanced
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $26,000.00
          IND Funding Group                                                    Contingent
          2135 NW 115th                                                        Unliquidated
          Miami, FL 33172
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Merchant cash advance
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 2
                                                                                                          37780
                             Case 6:23-bk-01273-GER                          Doc 1          Filed 04/06/23                 Page 16 of 32

Debtor       King Interpreting Services LLC                                                         Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $18,992.00
          JP Morgan Chase                                                      Contingent
          Cardmember Service                                                   Unliquidated
          PO Box 1423                                                          Disputed
          Charlotte, NC 28201-1423
                                                                           Basis for the claim:    credit card
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $37,000.00
          KnightsBridge Funding                                                Contingent
          40 Wall Street, Ste 2903                                             Unliquidated
          New York, NY 10005
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Merchant cash advance
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $44,000.00
          Maison Capital                                                       Contingent
          560 Sylvan Ave, Ste 3020                                             Unliquidated
          Englewood Cliffs, NJ 07632
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Merchant cash advance
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $64,000.00
          PayPal                                                               Contingent
          2221 North First Street                                              Unliquidated
          San Jose, CA 95131
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,600.00
          WebBank                                                              Contingent
          PO Box 842978                                                        Unliquidated
          Dallas, TX 75284
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Merchant cash advance
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       390,592.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          390,592.00



Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 2
                          Case 6:23-bk-01273-GER                       Doc 1        Filed 04/06/23            Page 17 of 32

Fill in this information to identify the case:

Debtor name       King Interpreting Services LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                         Case 6:23-bk-01273-GER                    Doc 1        Filed 04/06/23            Page 18 of 32

Fill in this information to identify the case:

Debtor name      King Interpreting Services LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    James King                  8891 Andreas Avenue                                       WebBank                            D
                                      Orlando, FL 32832                                                                            E/F       3.9
                                                                                                                                   G




   2.2    James King                  8891 Andreas Avenue                                       PayPal                             D
                                      Orlando, FL 32832                                                                            E/F       3.8
                                                                                                                                   G




   2.3    Janet King                  8891 Andreas Avenue                                       Everest Business                   D
                                      Orlando, FL 32832                                         Funding                            E/F       3.1
                                                                                                                                   G




   2.4    Janet King                  8891 Andreas Avenue                                       Fox Business                       D
                                      Orlando, FL 32832                                         Funding                            E/F       3.2
                                                                                                                                   G




   2.5    Janet King                  8891 Andreas Avenue                                       Image Capital                      D
                                      Orlando, FL 32832                                         Parners                            E/F       3.3
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
                       Case 6:23-bk-01273-GER                 Doc 1      Filed 04/06/23          Page 19 of 32

Debtor    King Interpreting Services LLC                                          Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Janet King               8891 Andreas Avenue                                 IND Funding Group                  D
                                   Orlando, FL 32832                                                                      E/F   3.4
                                                                                                                          G




  2.7     Janet King               8891 Andreas Avenue                                 JP Morgan Chase                    D
                                   Orlando, FL 32832                                                                      E/F   3.5
                                                                                                                          G




  2.8     Janet King               8891 Andreas Avenue                                 KnightsBridge                      D
                                   Orlando, FL 32832                                   Funding                            E/F   3.6
                                                                                                                          G




  2.9     Janet King               8891 Andreas Avenue                                 Maison Capital                     D
                                   Orlando, FL 32832                                                                      E/F   3.7
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
                          Case 6:23-bk-01273-GER                      Doc 1        Filed 04/06/23              Page 20 of 32




Fill in this information to identify the case:

Debtor name         King Interpreting Services LLC

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $407,602.79
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $2,328,127.66
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,233,060.82
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
                         Case 6:23-bk-01273-GER                      Doc 1        Filed 04/06/23              Page 21 of 32
Debtor       King Interpreting Services LLC                                                   Case number (if known)



      Creditor's Name and Address                                Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                     Check all that apply
      3.1.
              JP Morgan Chase                                    3/16/23,                         $10,250.00           Secured debt
              Cardmember Service                                 3/11/23,                                              Unsecured loan repayments
              PO Box 1423                                        3/8/23,
                                                                                                                       Suppliers or vendors
              Charlotte, NC 28201-1423                           2/28/23,
                                                                                                                       Services
                                                                 2/22/23,
                                                                 2/20/23,                                              Other
                                                                 2/20/23,
                                                                 2/17/23,
                                                                 1/31/23,
                                                                 1/18/23 and
                                                                 1/1/23
      3.2.
              KnightsBridge Funding                              daily                            $19,456.00           Secured debt
              40 Wall Street, Ste 2903                           payments                                              Unsecured loan repayments
              New York, NY 10005                                 last 90 days                                          Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other Merchant Cash
                                                                                                                     Advance

      3.3.
              FORA                                               weekly                           $14,128.00           Secured debt
              320 West 37th St, 8th Flr                          payments                                              Unsecured loan repayments
              New York, NY 10018                                 last 90 days                                          Suppliers or vendors
                                                                                                                       Services
                                                                                                                       Other Merchant cash
                                                                                                                     advance

      3.4.
              PayPal                                             3/27/23,                         $29,625.75           Secured debt
              2221 North First Street                            3/10/23,                                              Unsecured loan repayments
              San Jose, CA 95131                                 3/3/23,                                               Suppliers or vendors
                                                                 2/24/23,                                              Services
                                                                 2/17/23,
                                                                 2/10/23,                                              Other loan
                                                                 2/3/23,
                                                                 1/27/23,
                                                                 1/20/23,
                                                                 1/13/23,
                                                                 1/6/23
      3.5.
              Everest Business Funding                           daily                            $17,657.81           Secured debt
              5 West 37th Avenue                                 payments                                              Unsecured loan repayments
              Ste 1100                                           last 90 days                                          Suppliers or vendors
              New York, NY 10018                                                                                       Services
                                                                                                                       Other Merchant cash
                                                                                                                     advance

      3.6.
              Fox Business Funding                               daily                            $44,166.49           Secured debt
              1920 E. Hallandale Beach Blv                       payments                                              Unsecured loan repayments
              Suite 503                                          last 90 days                                          Suppliers or vendors
              Hallandale, FL 33009                                                                                     Services
                                                                                                                       Other Merchant cash
                                                                                                                     advance




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
                          Case 6:23-bk-01273-GER                       Doc 1         Filed 04/06/23             Page 22 of 32
Debtor       King Interpreting Services LLC                                                     Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.7.
              Image Capital Parners                                daily                            $26,444.35                Secured debt
              53 N Park Avenue, Ste 302                            payments                                                   Unsecured loan repayments
              Rockville Centre, NY 11570                           last 90 days                                               Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other Merchant cash
                                                                                                                         advances

      3.8.
              Forward Financing                                    daily                            $22,491.00                Secured debt
              100 Summer Street, Ste 1175                          payments                                                   Unsecured loan repayments
              Boston, MA 02110                                     last 90 days                                               Suppliers or vendors
                                                                                                                              Services
                                                                                                                           Other Merchant cash
                                                                                                                         advances

      3.9.
              IND Funding Group                                    daily                            $48,591.00                Secured debt
              2135 NW 115th                                        payments                                                   Unsecured loan repayments
              Miami, FL 33172                                      last 90 days                                               Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Merchant cash
                                                                                                                         advance


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
                          Case 6:23-bk-01273-GER                       Doc 1         Filed 04/06/23            Page 23 of 32
Debtor       King Interpreting Services LLC                                                      Case number (if known)




          None.

              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.1.    Maison Capital Group, Inc. vs.          Contract                     Supreme Court of the State                  Pending
              King Interpreting Services,             indebtedness                 of New York                                 On appeal
              LLC and Janet Lynn King                                              County of Kings
                                                                                                                               Concluded
              509230/2023

      7.2.    Image Capital Parners vs.               Contract                     Supreme Court of the State                  Pending
              King Interpreting Services,             Indebtedness                 of New York                                 On appeal
              LLC and Janet King                                                   County of Monroe
                                                                                                                               Concluded
              202303311497

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
                           Case 6:23-bk-01273-GER                       Doc 1        Filed 04/06/23              Page 24 of 32
Debtor        King Interpreting Services LLC                                                     Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     BransonLaw, PLLC
                1501 E. Concord Street
                Orlando, FL 32803                         Attorney Fees                                                 4/4/2023                 $13,254.00

                Email or website address
                jeff@bransonlaw.com

                Who made the payment, if not debtor?
                Donna Armstrong



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                If debtor provides meals
                                                       the debtor provides                                                         and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
                          Case 6:23-bk-01273-GER                        Doc 1         Filed 04/06/23             Page 25 of 32
Debtor      King Interpreting Services LLC                                                       Case number (if known)




                Date of births
                Does the debtor have a privacy policy about that information?
                  No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
                          Case 6:23-bk-01273-GER                       Doc 1        Filed 04/06/23              Page 26 of 32
Debtor      King Interpreting Services LLC                                                      Case number (if known)



     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Janet King
                    8891 Andreas Avenue
                    Orlando, FL 32832


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 7
                           Case 6:23-bk-01273-GER                      Doc 1        Filed 04/06/23              Page 27 of 32
Debtor      King Interpreting Services LLC                                                      Case number (if known)



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Everest Business Funding
                    5 West 37th Avenue
                    Ste 1100
                    New York, NY 10018
      26d.2.        Fox Business Funding
                    1920 E. Hallandale Beach Blv
                    Suite 503
                    Hallandale, FL 33009
      26d.3.        Image Capital Parners
                    53 N Park Avenue, Ste 302
                    Rockville Centre, NY 11570
      26d.4.        IND Funding Group


      26d.5.        KnightsBridge Funding
                    40 Wall Street, Ste 2903
                    New York, NY 10005
      26d.6.        Maison Capital
                    560 Sylvan Ave, Ste 3020
                    Englewood Cliffs, NJ 07632
      26d.7.        WebBank
                    PO Box 842978
                    Dallas, TX 75284

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Janet King                              8891 Andreas Avenue                                 Managing Member                           100%
                                              Orlando, FL 32832



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8
                          Case 6:23-bk-01273-GER                       Doc 1        Filed 04/06/23              Page 28 of 32
Debtor      King Interpreting Services LLC                                                      Case number (if known)




           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Janet King
      .    8891 Andreas Avenue                                                                                   4/5/22 to
             Orlando, FL 32832                         $272,630.00                                               4/5/2023          Services provided

             Relationship to debtor
             Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 6, 2023

/s/ Janet King                                                  Janet King
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
                         Case 6:23-bk-01273-GER                          Doc 1         Filed 04/06/23             Page 29 of 32

                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    King Interpreting Services LLC                                                                          Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date April 6, 2023                                                       Signature /s/ Janet King
                                                                                        Janet King

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                      Case 6:23-bk-01273-GER                 Doc 1      Filed 04/06/23         Page 30 of 32




                                              United States Bankruptcy Court
                                                     Middle District of Florida
 In re   King Interpreting Services LLC                                                        Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    April 6, 2023                                 /s/ Janet King
                                                       Janet King/Managing Member
                                                       Signer/Title
                    Case 6:23-bk-01273-GER   Doc 1     Filed 04/06/23   Page 31 of 32



    }
    b
    k
    1
    {
    C
    r
    e
    d
    i
    t
    o
    A
    s
    M
    a
    x




King Interpreting Services LLC      KnightsBridge Funding
8891 Andreas Avenue                 40 Wall Street, Ste 2903
Orlando, FL 32832                   New York, NY 10005




Jeffrey S. Ainsworth                Maison Capital
BransonLaw, PLLC                    560 Sylvan Ave, Ste 3020
1501 E. Concord Street              Englewood Cliffs, NJ 07632
Orlando, FL 32803



Everest Business Funding            PayPal
5 West 37th Avenue                  2221 North First Street
Ste 1100                            San Jose, CA 95131
New York, NY 10018



Fox Business Funding                Small Business Adminitration
1920 E. Hallandale Beach Blv        PO Box 3918
Suite 503                           Portland, OR 97208-3918
Hallandale, FL 33009



Image Capital Parners               WebBank
53 N Park Avenue, Ste 302           PO Box 842978
Rockville Centre, NY 11570          Dallas, TX 75284




IND Funding Group
2135 NW 115th
Miami, FL 33172




James King
8891 Andreas Avenue
Orlando, FL 32832




Janet King
8891 Andreas Avenue
Orlando, FL 32832




JP Morgan Chase
Cardmember Service
PO Box 1423
Charlotte, NC 28201-1423
                     Case 6:23-bk-01273-GER             Doc 1      Filed 04/06/23      Page 32 of 32




                                          United States Bankruptcy Court
                                                 Middle District of Florida
 In re   King Interpreting Services LLC                                                Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for King Interpreting Services LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




April 6, 2023                                    /s/ Jeffrey S. Ainsworth
Date                                             Jeffrey S. Ainsworth 060769
                                                 Signature of Attorney or Litigant
                                                 Counsel for King Interpreting Services LLC
                                                 BransonLaw, PLLC
                                                 1501 E. Concord Street
                                                 Orlando, FL 32803
                                                 407 894 6834 Fax:407 894 8559
                                                 jeff@bransonlaw.com
